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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

RALPH CLAIBORNE WALSH, JR., D.O.                  )
                                                  )
                Plaintiff,                        )
                                                  )
v.
                                                  )
LISA HODGE, PH.D., GSBS; JOHN                     )
SCHETZ, PH.D., GSBS; PATRICK CLAY,                )
PHARMD,    SCOP;    LISA   KILLAM-                )
WORRALL, PHARMD, SCOP; JESSICA                    )   Civil Action No. 4:17-CV-00323-Y
HARTOS, PH.D.; YASSER SALEM, PT,                  )
PH.D.,   SPH;     EMILY    SPENCE-
                                                  )
ALMAGUER, PH.D., SPH; SUMIHIRO
SUZUKI,    PH.D.,    SPH;   VICTOR                )
KOSMOPOULOS,       PH.D.,    TCOM;                )
MICHAEL R. WILLIAMS, DO, MD, MBA;                 )
PATRICIA GWIRTZ, PH.D.; AND DAMON                 )
SCHRANZ, D.O., TCOM,                              )
                                                  )
                Defendants.


                       PLAINTIFF’S FIRST AMENDED COMPLAINT

        Ralph Claiborne Walsh, Jr., D.O., Plaintiff (“Walsh” or “Plaintiff”), files this his First

Amended Complaint, complaining of Defendants Lisa Hodge, Ph.D., GSBS; John Schetz, Ph.D.,

GSBS; Patrick Clay, PharmD, SCOP; Lisa Killam-Worrall, PharmD, SCOP; Jessica Hartos,

Ph.D.; Yasser Salem, PT, Ph.D., SPH; Emily Spence-Almaguer, Ph.D., SPH; Sumihiro Suzuki,

Ph.D., SPH; Victor Kosmopoulos, Ph.D., TCOM; Damon Schranz, D.O., TCOM; Michael R.

Williams, DO, MD, MBA; and Patricia Gwirtz, Ph.D., each in his or her individual capacity, for

violating his civil rights under the Fourteenth Amendment to the United States Constitution in

violation of 42 U.S.C. § 1983.

     In support of his First Amended Complaint, Plaintiff hereby alleges and states as follows:


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                                          I.      Parties

       1.      This action seeks equitable relief, compensatory and punitive damages, expert

witness fees, taxable costs of court, and pre-judgment and post-judgment interest for violations

of Dr. Walsh’s procedural due process rights in connection with the termination of his

employment with the University of North Texas Health Science Center (“UNTHSC”).

       2.      Plaintiff is a former faculty member and provider of medical services for

UNTHSC’s clinical practice group, which is located in this Judicial District.

       3.      Defendant Lisa Hodge, Ph.D. was at all times relevant to this Complaint an

employee of UNTHSC. Dr. Hodge was a member of the Appeal Committee who considered

Plaintiff’s challenge to the proposed disciplinary action that is at issue in this matter. Defendant

Hodge, at all times, was acting under color of law, under color of the statutes, ordinances,

regulations, policies, customs, and usages of the State of Texas. Defendant Hodge has appeared

by counsel.

       4.      Defendant John Schetz, Ph.D. was at all times relevant to this Complaint an

employee of UNTHSC. Dr. Schetz was a member of the Appeal Committee who considered

Plaintiff’s challenge to the proposed disciplinary action that is at issue in this matter. Defendant

Schetz, at all times, was acting under color of law, under color of the statutes, ordinances,

regulations, policies, customs, and usages of the State of Texas. Defendant Schetz has appeared

by counsel.

       5.      Defendant Patrick Clay, PharmD, SCOP was at all times relevant to this

Complaint an employee of UNTHSC. Dr. Clay was a member of the Appeal Committee who

considered Plaintiff’s challenge to the proposed disciplinary action that is at issue in this matter.

Defendant Clay, at all times, was acting under color of law, under color of the statutes,



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ordinances, regulations, policies, customs, and usages of the State of Texas. Defendant Clay has

appeared by counsel.

       6.      Lisa Killam-Worrall, PharmD, SCOP was at all times relevant to this Complaint

an employee of UNTHSC. Dr. Killam-Worrall was a member of the Appeal Committee who

considered Plaintiff’s challenge to the proposed disciplinary action that is at issue in this matter.

Defendant Killam-Worrall, at all times, was acting under color of law, under color of the

statutes, ordinances, regulations, policies, customs, and usages of the State of Texas. Defendant

Killam-Worrall has appeared by counsel.

       7.      Yasser Salem, PT, Ph.D., SPH was at all times relevant to this Complaint an

employee of UNTHSC. Dr. Salem was a member of the Appeal Committee who considered

Plaintiff’s challenge to the proposed disciplinary action that is at issue in this matter. Defendant

Salem, at all times, was acting under color of law, under color of the statutes, ordinances,

regulations, policies, customs, and usages of the State of Texas. Defendant Salem as appeared

by counsel.

       8.      Jessica Hartos, Ph.D. was at all times relevant to this Complaint an employee of

UNTHSC. Dr. Hartos was a member of the Appeal Committee who considered Plaintiff’s

challenge to the proposed disciplinary action that is at issue in this matter. Defendant Hartos, at

all times, was acting under color of law, under color of the statutes, ordinances, regulations,

policies, customs, and usages of the State of Texas. Defendant Hartos has appeared by counsel.

       9.      Emily Spence-Almaguer, Ph.D., SPH was at all times relevant to this Complaint

an employee of UNTHSC. Dr. Spence-Almaguer was a member of the Appeal Committee who

considered Plaintiff’s challenge to the proposed disciplinary action that is at issue in this matter.

Defendant Spence-Almaguer, at all times, was acting under color of law, under color of the



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statutes, ordinances, regulations, policies, customs, and usages of the State of Texas. Defendant

Spence-Almaguer has appeared by counsel.

       10.     Sumihiro Suzuki, Ph.D. was at all times relevant to this Complaint an employee

of UNTHSC. Dr. Suzuki was a member of the Appeal Committee who considered Plaintiff’s

challenge to the proposed disciplinary action that is at issue in this matter. Defendant Suzuki, at

all times, was acting under color of law, under color of the statutes, ordinances, regulations,

policies, customs, and usages of the State of Texas. Defendant Suzuki has appeared by counsel.

       11.     Victor Kosmopoulos, Ph.D., TCOM was at all times relevant to this Complaint an

employee of UNTHSC. Dr. Kosmopoulos was a member of the Appeal Committee who

considered Plaintiff’s challenge to the proposed disciplinary action that is at issue in this matter.

Defendant Kosmopoulos, at all times, was acting under color of law, under color of the statutes,

ordinances, regulations, policies, customs, and usages of the State of Texas.             Defendant

Kosmopoulos has appeared by counsel.

       12.     Damon Schranz, D.O., TCOM was at all times relevant to this Complaint an

employee of UNTHSC. Dr. Schranz was a member of the Appeal Committee who considered

Plaintiff’s challenge to the proposed disciplinary action that is at issue in this matter. Defendant

Schranz, at all times, was acting under color of law, under color of the statutes, ordinances,

regulations, policies, customs, and usages of the State of Texas.          Defendant Schranz has

appeared by counsel.

       13.     Michael R. Williams, DO, MD, MBA was at all times relevant to this Complaint

an employee of UNTHSC. Dr. Williams is the President of UNTHSC who considered Plaintiff’s

challenge to the proposed disciplinary action that is at issue in this matter. Defendant Williams,

at all times, was acting under color of law, under color of the statutes, ordinances, regulations,



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policies, customs, and usages of the State of Texas. Defendant Williams has appeared by

counsel.

       14.     Defendant Patricia Gwirtz, Ph.D. was at all times relevant to this Complaint an

employee of UNTHSC. Dr. Gwirtz is a UNTHSC employee who handled all pre-hearing

communications with Plaintiff and made certain pre-hearing decisions. Dr. Gwirtz, at all times,

was acting under color of law, under color of the statutes, ordinances, regulations, policies,

customs, and usages of the State of Texas. Defendant Gwirtz has appeared by counsel.

                                       II.          Jurisdiction

       15.     This action is brought pursuant to 42 U.S.C. § 1983. The Court has jurisdiction

over this lawsuit pursuant to 28 U.S.C. § 1331, as this lawsuit arises under the Constitution, laws,

or treaties of the United States.

                                             III.     Venue

       16.     Venue is proper in this Court under 28 U.S.C. § 1391(b), as this is the judicial

district in which one or more of the defendants reside and where a substantial part of the events

or omissions giving rise to the claims occurred.

                                             IV.       Facts

Background

       17.     Plaintiff is a Board-Certified physician in Osteopathic Manipulative Medicine and

Family Medicine. He was employed by UNTHSC from April 1, 2011, until his employment was

wrongfully terminated by President Williams on April 14, 2017. During his employment,

Plaintiff served as an Assistant and Associate Professor for UNTHSC’s Osteopathic

Manipulative Medicine department, with responsibilities that included both clinical work and

teaching. He worked regularly and extensively with other members of UNTHSC’s faculty and



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with its medical students. Prior to the weekend of October 24, 2014, he had never been accused

by anyone of engaging in conduct that violated UNTHSC’s discrimination or harassment

standards.

       18.    Dr. Walsh lost his employment and livelihood based on a singular complaint

brought under the auspices of Title IX by a third-year female medical student (“Medical

Student”). Medical Student had suffered for decades with an emotional disorder caused by

various factors, and which had been compounded in the summer of 2014 by an assault

committed by a male authority figure (not Plaintiff). Medical Student did not complain about a

pattern of conduct, or about severe and pervasive conduct. Instead, she complained about her

interaction with Plaintiff on one evening, in the presence of multiple witnesses, at a conference

attended by UNTHSC doctors and students.

       19.    As many institutions have done in the face of a Title IX charge, UNTHSC put its

thumb on the scale in favor of the female Medical Student and against Plaintiff. UNTHSC’s rush

to judgment resulted in an unfair and unfounded recommendation of termination, and deprived

Dr. Walsh of equal protection on account of his gender, male.

       20.    Plaintiff appealed the termination recommendation through Article XIII of

UNTHSC’s Faculty Bylaws (the “Policy”). As he was entitled to do, Dr. Walsh requested a

hearing before UNTHSC’s Faculty Grievance and Appeal Committee (the “Appeals

Committee”). After a hearing on March 23, 2015, the Appeals Committee recommended that Dr.

Walsh be terminated.

       21.    Dr. Walsh asked UNTHSC’s President, Michael R. Williams, DO, to reject the

Committee’s recommendation of termination. Dr. Williams refused, and instead elected to

implement the recommendation of the Committee. By letter dated April 14, 2015, (postmarked



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on April 16, and received thereafter by Dr. Walsh), Dr. Williams advised Dr. Walsh of his

termination.

The Alleged Harassment and the Complaint Investigation

       22.     On October 24, 2014, Plaintiff, two other members of UNTHSC faculty, and two

medical students, including Medical Student, attended a formal banquet as part of a medical

conference in Seattle, Washington. The banquet included a reception, dinner, and dancing.

Alcohol was served and consumed by all attendees, including Medical Student.

       23.     The general mood of the group was festive and somewhat boisterous. Pictures

taken during the evening depict Plaintiff, Medical Student, and the rest of the group smiling,

laughing, and drinking. Plaintiff and Medical Student interacted frequently that evening, and

they danced together. At one point when Plaintiff touched Medical Student on the small of her

back, Medical Student reached behind her back and grabbed his hand. Flattered, Plaintiff held

Medical Student’s hand. The two continued interacting for much of the evening, and Medical

Student initiated further hand-holding.

       24.     Plaintiff, who is married, began to feel guilty about the flirtation, but he could not

come up with a way to extricate himself from the interaction with Medical Student without

making the situation awkward. The evening resolved of its own accord when, after further

socializing among the UNTHSC attendees at a hotel bar, one of the other physicians became ill

at the bar, and Medical Student walked her back to her room.

       25.     The next week, Medical Student filed a Title IX complaint with UNTHSC,

alleging that Dr. Walsh had sexually harassed her at the banquet. UNTHSC hired an outside

investigator, attorney Lisa Kaiser, who initiated an investigation. Dr. Walsh was dumbfounded

when he learned of the complaint. When notified that he would be interviewed, Dr. Walsh asked

the Title IX Coordinator if he should have counsel present with him. She merely responded,

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“That is your choice.” She did not advise Dr. Walsh that Ms. Kaiser was an attorney, the

managing partner of an employment law firm, and a self-professed nationally-recognized

professional in legal compliance.

       26.     When she met with Dr. Walsh, Ms. Kaiser did not identify herself as an attorney.

Had he known that he was being interviewed by an attorney, Dr. Walsh would have rescheduled

the meeting and returned with his own counsel.

       27.     In the interview, Ms. Kaiser’s questions and demeanor suggested to Plaintiff that

she had already reached a conclusion before even listening to his side of the story. Her questions

were slanted and accusatory. When Ms. Kaiser asked him to walk her through the evening of

October 24, Dr. Walsh openly admitted to the mutual flirtation with Medical Student and bad

judgment as a married man. He denied having received any indication from Medical Student that

she was uncomfortable at any time that evening; to the contrary, he told Ms. Kaiser that she had

been smiling and laughing throughout the evening.

       28.     Dr. Walsh learned during the interview that Medical Student claimed that he had

touched her buttocks and she claimed that he had invited her to his room. He vehemently denied

both accusations, and he told Ms. Kaiser what really happened. Regarding the buttocks-touching

complaint, Dr. Walsh told Ms. Kaiser that Medical Student had come over to sit by him while his

hand was resting on the chair next to him; when she sat down, she sat on top of his hand.

Regarding the alleged proposition, Dr. Walsh told Ms. Kaiser that he had asked Medical Student

if she wanted him to walk her to her room because she had been drinking, and that her response

was “Maybe, I don’t know; I’ll let you know.” He also told her that Medical Student had

initiated physical contact with him, and not the other way around, by reaching for and holding

his hand several times during the evening.



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        29.     Plaintiff denied all allegations of wrongdoing, and provided Ms. Kaiser with

ample information to show that Medical Student’s allegations were not true. He did tell her that

as a married man and a Christian, he had been wrong to engage in the flirtation and that he

regretted it.

        30.     After his interview, Plaintiff asked UNTHSC for a copy of Ms. Kaiser’s report

repeatedly. It refused to give him a copy.

        31.     On December 22, 2014, Dr. Walsh received a letter from Dr. David Mason, Chair

of the UNTHSC’s Department of Osteopathic Manipulative Medicine, informing him that, based

on the findings of the sexual harassment investigation, UNTHSC was proposing a sanction of

termination. Dr. Mason’s comments in the letter show that Ms. Kaiser misrepresented what he

told her in the interview, and that her conclusions were grossly inaccurate.

        32.     Dr. Walsh knew that the investigation was shoddy, and that it did not support a

finding that he had violated any policy. In accordance with his rights under the Policy, he

appealed the termination recommendation. He continued his employment with UNTHSC, and

he continued receiving salary and all employment benefits.

Plaintiff’s Employment Contract and Relevant Policies

        33.     Plaintiff’s employment with UNTHSC was governed by the Employment

Contract. The Employment Contract protected Plaintiff from an at-will termination by requiring

that UNTHSC prove specific grounds for termination. One of the stated grounds for termination

is Dr. Walsh’s failure to comply with UNTHSC’s “reasonable policies.”

        34.     Chapter 5.205 of UNTHSC’s Human Resources policies provides that

“[u]nwelcome sexual advances, requests for sexual favors, and other verbal or physical conduct

of a sexual nature (regardless of gender) . . . constitutes a violation of this policy when:



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a) submission to or tolerance of such conduct is made either explicitly or implicitly a term or

condition of an individual’s employment or education; or b) submission to or rejection of such

conduct by an individual is used as the basis for academic or employment decisions . . . affecting

the individual; or c) such conduct has the purpose or effect of substantially interfering with an

individual’s academic or professional performance or creating an intimidating, hostile or

offensive employment, or educational environment.”

       35.      Section C of the UNTHSC Policy describes the “due process” to which UNTHSC

faculty members are entitled before termination based on an allegation of misconduct. The

process that is required includes, among other things, that:

             a. Appeals committee members may not consider or introduce any evidence or

                testimony acquired from outside the actual hearing;

             b. The appeals committee may not include any accuser of the faculty member, and

                “[t]he member of the committee will determine whether or not he or she can serve

                with fairness and objectivity”

             c. The burden of proof for proving misconduct is upon UNTHSC to establish by the

                greater weight of the credible evidence good cause for imposing sanctions against

                a faculty member for misconduct; and

             d. The parties have the right to confront, cross-examine, and rebut all witnesses.

Plaintiff’s Hearing

       36.      On January 5, 2015, Plaintiff notified UNTHSC that he was initiating an appeal

hearing before the Appeal Committee to challenge the findings of the investigation and the

proposed termination.




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       37.     Plaintiff received a response letter from Defendant Patricia A. Gwirtz, Ph.D. (“Dr.

Gwirtz”) dated February 10, 2015, informing him that “the charges of faculty misconduct derive

from allegations of sexual harassment that are fully described in a ‘Complaint Investigation

Report,’” presumably the report prepared by Ms. Kaiser. Notwithstanding the importance of the

report, Dr. Gwirtz further advised Dr. Walsh that he could not have a copy of the report (the

“Report”) until his appeal hearing. She told him that if he wanted to make an appointment, he

could review (but not copy) a redacted version of the Report. She confirmed the Appeal

Committee would receive and consider the Report as evidence in making its decision.

       38.     Dr. Gwirtz sent a subsequent letter to Plaintiff regarding the appeal hearing. She

told him that attendance at the hearing would be limited to the Appeal Committee, Plaintiff, a

hospital advisor for each party, and witnesses. It noted that parties could challenge particular

members of the Appeal Committee and that “[t]he committee member will determine whether

he/she can serve with fairness and objectivity.”

       39.     Plaintiff engaged an expert witness to testify regarding the partiality of Ms.

Kaiser’s investigation and the misleading Report, but due to UNTHSC’s policy of not providing

reports to faculty members accused of misconduct, the expert witness could not review the

Report to prepare for the hearing.

       40.     When he arrived for his appointment to review the Report, Dr. Walsh

immediately noticed that it did not include many of the statements he had made to Ms. Kaiser,

including his statement that Medical Student had reached behind her back to hold his hand; that

her statement that he touched her buttocks arose from her siting on his hand; that she had

grabbed his hand while they were on an escalator and pulled him toward her; or that she had

been smiling and laughing the whole evening. Dr. Walsh also noted blatant falsehoods in the



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Report, including its representation that he had essentially confirmed Medical Student’s account;

its false assertion that he admitted asking her if she wanted him to come to her room; and its

observation that he knew the events of the evening were “not right.”

        41.     In addition to the uphill battle he faced regarding the Report, Dr. Walsh was not

informed that one member of the Appeals Committee, Defendant Damon Schranz, had been

acting for some time as a “preceptor” for Medical Student. In his capacity as a preceptor,

Schranz was a key advisor to Medical Student, spending approximately forty hours each week

with her in various clinics. This close relationship inevitably impacted his impartiality. Had

Plaintiff known that Defendant Schranz was Student’s preceptor, he would have objected to his

ability to act with neutrality.

        42.     The appeal hearing was conducted on March 23, 2015. Defendants Hodge,

Schetz, Clay, Killam-Worrall, Hartos, Salem, Spence-Almaguer, Suzuki, Kosmopoulos, and

Schranz comprised the Appeals Committee (collectively, “Defendant Appeals Committee”).

        43.     Neither Defendant Gwirtz nor Defendant Appeals Committee required Medical

Student to testify, nor did Defendant Appeals Committee otherwise question her.           Hence,

Plaintiff had no opportunity to cross-examine the one person who contended he had acted in a

manner deserving of termination.

        44.     Contrary to the requirements of the Policy, Defendant Gwirtz and Defendant

Appeals Committee considered information acquired outside of the hearing by the investigator,

Lisa Kaiser. They then allowed Ms. Kaiser to provide hearsay testimony of the allegations of

Medical Student.

        45.     To attempt to rebut Ms. Kaiser’s hearsay testimony, Plaintiff sought to introduce

contemporaneous photos of the event showing Medical Student with her arms around Plaintiff



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and otherwise showing Medical Student with no discomfort or distress when in very close

proximity to Plaintiff. Defendant Gwirtz and Defendant Appeals Committee refused to allow

introduction of the evidence, depriving Plaintiff of any realistic opportunity to show what

happened on the night in question.

        46.     Plaintiff further sought to rebut Ms. Kaiser’s testimony by asking an expert in

sexual harassment law who had conducted many sexual harassment investigations herself to be

present to testify on his behalf. Because Plaintiff already had been denied the opportunity to have

a copy of Ms. Kaiser’s Report, the expert was unable to review it prior to testifying. In lieu of

the expert reading the Report, Plaintiff requested that the Appeals Committee allow her to listen

to the testimony of Ms. Kaiser at the hearing so that she could respond to it.

        47.     To compound the unfairness of allowing Ms. Kaiser, an attorney, to testify for

Medical Student, Defendant Appeals Committee refused to level the playing field by allowing an

equally educated and experienced investigator simply to listen to Ms. Kaiser’s testimony. Thus,

Plaintiff’s witness had to come to the hearing blindfolded, with neither an opportunity to review

Ms. Kaiser’s Report before the hearing nor to listen to her testimony. The Appeals Committee

thus again denied Plaintiff the opportunity to cross-examine the chief witness against him.

        48.     While the Committee allowed her to testify, the expert’s testimony was limited to

what Dr. Walsh’s non-lawyer representative was able to elicit. Despite these hardships,

Plaintiff’s expert pointed out to the Appeals Committee problems with Ms. Kaiser’s

investigation, including the inaccuracies, omissions, and half-truths in the Report. She also

reminded the Appeals Committee of UNTHSC’s burden to demonstrate misconduct on

Plaintiff’s part.




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       49.        The Appeals Committee concluded that Plaintiff had violated Faculty Policy

5.205 prohibiting the creation of a hostile work environment and it recommended that Plaintiff

be terminated.

       50.       Following the Committee’s determination, Plaintiff notified President Williams of

the failures in the hearing that had led to their wrong conclusion. President Williams refused to

address any of the issues identified by Plaintiff, and he decided to terminate Plaintiff’s

employment. He mailed a letter to Plaintiff on April 16, 2014, advising him of the termination

decision.

                                           VI.     Claims

                              Count I - Violation of 42 U.S.C. § 1983
            Violations of Plaintiff’s Due Process Rights by the Individual Defendants

       51.       Each allegation contained in the foregoing paragraphs is realleged as if fully

rewritten herein.

       52.       Plaintiff’s Employment Contract provides that he could be terminated only for

specific good cause reasons. UNTHSC’s policies and established rules provided the procedure

UNTHSC was required to follow to determine if his employment could be terminated. Thus,

Plaintiff had a Constitutionally-protected property interest in his continued employment with

UNTHSC sufficient to entitle him to due process protection. As such, Plaintiff was entitled to be

heard at a meaningful time and in a meaningful manner before his employment was terminated.

       53.       UNTHSC’s Policy and due process requires, minimally, a hearing consisting of

the following:

             a. For UNTHSC to meet its burden of establishing good cause for his termination by

                 the greater weight of the credible evidence;

             b. To confront his accuser, that is Medical Student;


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             c. To be judged only by evidence at the hearing, and not from statements heard

                outside the hearing, such as those heard by the investigator;

             d. To present his defense to an appeals committee comprised of individuals without

                conflicts of interest, such as Defendant Schranz, who acted as Medical Student’s

                preceptor;

             e. To have access (himself or through his expert) to the evidence to be used against

                him, and in particular, the Report and the testimony of the investigator.

       54.      Because the accuser’s statement made outside of the hearing was the entire basis

for Defendant Appeals Committee’s decision, Defendant Gwirtz and the Committee’s refusal to

require Medical Student to testify deprived Plaintiff of his opportunity to cross-examine her and

to address her contentions meaningfully. Thus, Defendant Gwirtz and Defendant Appeals

Committee deprived Plaintiff of a meaningful opportunity to be heard.

       55.      Defendant Gwirtz and the Committee’s refusal to allow Plaintiff or Plaintiff’s

attorney expert to review attorney Kaiser’s Report before the hearing, and their refusal to allow

Plaintiff’s attorney expert to listen to attorney Kaiser’s testimony, deprived Plaintiff of an

opportunity to meaningfully cross-examine attorney Kaiser.

       56.      Defendant Schranz’s failure to recuse himself from the Appeals Committee when

he had acted as the preceptor for Medical Student deprived Plaintiff of an unbiased decision-

making panel and a meaningful opportunity to be heard.

       57.      Defendant Appeals Committee was obligated to follow the Policy, which it did

not do. Moreover, the Committee was informed by Plaintiff, by Plaintiff’s representative, and/or

by Plaintiff’s attorney sexual harassment witness of the Policy failures that occurred at the

hearing, including that Plaintiff had not been given the opportunity to confront his accuser, to



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present contemporaneous photographs of the evening, and to otherwise establish his innocence

of the charges made against him.

          58.   Each of the members of the Appeals Committee was informed by Plaintiff, by

Plaintiff’s representative, and/or by Plaintiff’s attorney sexual harassment witness that UNTHSC

had not met its burden of proving sexual harassment or good cause for termination by the greater

weight of the credible evidence.

          59.   The failure of Defendant Gwirtz and the Defendant Appeals Committee, or any of

them, to require that the hearing be held consistent with their own policies and in a manner

designed to provide Plaintiff with a meaningful opportunity to be heard is a violation of the due

process clause of the Fourteenth Amendment.

          60.   Defendant Gwirtz’s and Defendant Appeals Committee’s actions were not

objectively reasonable in light of the clear legal rules applicable to their actions at the time of the

action.

          61.   Defendant Williams was advised by Plaintiff of his inability to obtain a

meaningful hearing because of his inability to confront his accuser and the reliance of the

Committee on the hearsay testimony of Ms. Kaiser and her report. Defendant Williams was

deliberately indifferent to the process failures brought to his attention by Plaintiff. His actions

were not objectively reasonable in light of the clear legal rules applicable to his actions.

          62.   As a direct result of Defendants’ conduct, Plaintiff has suffered loss of income

and benefits in the past, loss of income and benefits in the future, damage to his personal and

professional career and reputation in the past and future, humiliation and embarrassment, and in

all reasonable probability, he will continue to suffer damages.




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                           Count II - Violation of 42 U.S.C. § 1983
       Violations of Plaintiff’s Equal Protection Rights by the Individual Defendants

       63.     Each allegation contained in the foregoing paragraphs is realleged as if fully

rewritten herein.

       64.     The Fourteenth Amendment provides that “[n]o State shall . . . deny to any person

within its jurisdiction the equal protection of the laws.” U.S. Const. amend XIV, § 1.

       65.     The actions set forth above by Defendant Gwirtz, Defendant Appeals Committee,

and Defendant Williams in refusing to require the female complainant to testify, in accepting out

of court testimony from the female complainant in violation of its own Policy, in accepting

hearsay testimony from the complainant’s female attorney representative, in refusing to grant

Plaintiff a reasonable opportunity to rebut the Title IX charges asserted against him by a female,

and in reaching the untenable conclusion that Plaintiff had violated UNTHSC’s sexual

harassment policy and/or engaged in conduct that constituted good cause for termination

establish the Committee’s failure to provide Plaintiff with equal protection of the laws on

account of his gender.

       66.     As a result of each of the Defendants’ deprivation of Plaintiff’s equal protection

rights, Plaintiff has suffered loss of income and benefits in the past, loss of income and benefits

in the future, damage to his personal and professional career and reputation in the past and

future, humiliation and embarrassment, and in all reasonable probability, he will continue to

suffer damages.

                                   Count IV - Attorneys’ Fees

       67.     As a result of Defendants’ wrongful conduct, Plaintiff has been forced to retain

the undersigned counsel. He has incurred, and will continue to incur, necessary attorneys’ fees

related to his pursuit of his claims against Defendants.

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                                        Count IV - Jury Demand

          68.      Plaintiff demands trial by jury on all issues so triable.

                                                   Prayer

          Based on the foregoing, Plaintiff demands that Defendants appear and answer, and that

on final trial of this lawsuit, Plaintiff have final judgment against Defendants for the following

relief:

                a. Lost wages, salary, and employment benefits;

                b. Compensatory damages for future pecuniary loss, emotional pain and suffering,

                   inconvenience, and loss of enjoyment of life;

                c. Liquidated damages;

                d. Exemplary damages on all claims allowed by law and in such amounts allowed by

                   law;

                e. Pre-judgment and post-judgment interest at the maximum amount allowed by law;

                f. Costs of suit, reasonable attorneys’ fees, and expert fees;

                g. Reinstatement; and

                h. Such other and further relief, both at law and in equity, to which Plaintiff may be

                   justly entitled.




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                                           Respectfully submitted,


                                           By: /s/ Julie E. Heath
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                               CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing pleading was served via the Court’s ECF system, on
this the 27th day of July, 2017, upon the following:

              KEN PAXTON
              Attorney General of Texas
              JEFFREY C. MATEER
              First Assistant Attorney General
              BRANTLEY STARR
              Deputy First Assistant Attorney General
              JAMES E. DAVIS
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                                                          /s/ Julie E. Heath
                                                          Julie E. Heath




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